

Time to Care Pharm. Inc. v American Tr. Ins. Co. (2024 NY Slip Op
50126(U))




[*1]


Time to Care Pharm. Inc. v American Tr. Ins. Co.


2024 NY Slip Op 50126(U) [81 Misc 3d 1242(A)]


Decided on January 17, 2024


District Court Of Suffolk County, Second District


Hennings, J.


Published by New York State Law Reporting
Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be
published in the printed Official Reports.



Decided on January 17, 2024
District Court of Suffolk County, Second District

Time to Care
Pharmacy Inc., a/a/o MALIK BROOMES, Petitioner,

againstAmerican Transit Insurance Co.,
Respondent.

Index No. CV-0538-23/BA

Attorney for the petitioner is Jason Tenenbaum, Esq.


Paul E. Hennings, J.

Recitation, as required by CPLR 2219(a), of the papers considered in the review of
petitioner's petition numbered 1 to  5  read on this motion by petitioner for an
order confirming the Master Arbitration Award that affirmed the Arbitration Award
below by Notice of Petition/Order to Show Cause and petitioner's papers 1-5
; Notice of Cross Motion and supporting papers; Answering Affidavits and
supporting papers ; Replying Affidavits and supporting papers; Filed papers ; Other; (and
after hearing counsel and/or parties in support of and opposed to the motion), and due
deliberation and consideration having been had therein, the Decision and Order of the
Court on the petition is as follows:
it isORDERED that the unopposed petition, pursuant to CPLR 7510, timely
seeking Confirmation of the Master Arbitration Award of Toby Susan DeSimone, Esq.
("DeSimone") rendered on 04/27/2023, and mailed on 05/01/2023 ("delivery date"), is
GRANTED, DeSimone having been duly appointed by the Superintendent of Insurance
and designated by the American Arbitration Association pursuant to the Regulations
promulgated by the Superintendent of Insurance as 11 NYCRR §65-4.10, which
application was made within one year after delivery below of said award to petitioner,
which award has not been vacated or modified upon a ground specified in CPLR 7511
(see CPLR 7510; see
also Matter of Neiss v Asia, 164 AD3d 1344, 1345 [2nd Dept 2018]). 
The Master Arbitration Award reviewed and affirmed in its entirety the Arbitration
Award below, heard on 12/13/2022 and affirmed on 01/12/2023, of the Arbitrator Inez
Beyrer, which was entered in favor of petitioner, TIME TO CARE PHARMACY INC.,
a/a/o MALIK BROOMES, as against respondent, in accordance with the Rules for New
York State No-Fault Arbitration adopted pursuant to regulations promulgated by the
Superintendent of Insurance.
More than 21 days has elapsed since the Master Arbitration Award was issued and
mailed on 05/01/2023 ("date of delivery"), and the amounts set forth in the Master
Arbitration Award is now due and owing (see 11 NYCRR
§65-4.10[e][4]).
The Arbitration Award is confirmed in favor of petitioner as against respondent, in
the following sums: (i) Principal sum in the amount of $3,381.36; (ii) Interest on
the Principal at 2% per month from 09/28/2021 until entry of a judgment in accordance
with Insurance Law §5106(a); (iii) Attorney Fee in the sum of 20% of the principal
and interest to a maximum of $1,360.00; (iv) Arbitration Filing Fee in the amount of
$40.00 (see 11 NYCRR §65-4.10[e][1][ii][b]); (v) Master
Arbitration Fee in the sum of $195.00 (see 11 NYCRR §65-4.10[e]
[1][ii][a]); (vi) Additional Attorney Fee pursuant to Insurance Department Regulations
(see 11 NYCRR §65-4.10[j][4]), for services rendered in a Court appeal
from a Master Arbitration Award, to be fixed by the Court adjudicating the matter (see Geico Ins. Co. v AAAMG
Leasing Corp., 148 AD3d 703 [2nd Dept 2017]); and it is further
ORDERED that the unopposed petition for an order awarding additional
attorney fees for post arbitration proceedings, is GRANTED. Petitioner is granted
additional attorney fees in the sum of $1,000.00 (see 11 NYCRR
§65-4.10[j][4]; see also
D&amp;W Cent. Stat. Fire Alarm Co. Inc. v United Props. Corp., 34 Misc 3d 85
[App Term, 2nd Dept, 11th &amp; 13th Jud Dists 2012]).
The standard of review for an arbitration award is limited to a determination of
whether the award was arbitrary, capricious and incorrect as a matter of law. A master
arbitrator's powers in reviewing an initial arbitrator's decision are limited to the grounds
stated in CPLR 7511, and additionally, under insurance regulations, is limited to whether
the initial arbitrator ruled on factual and procedural issues in a manner that was arbitrary,
capricious, irrational or without a plausible basis (see Matter of Petrofsky v Allstate
Ins. Co., 54 NY2d 207, 211 [1981]; In the Matter of Allstate Ins. Co. v
Keegan, 201 AD2d 724 [2nd Dept 1994]).
If a challenge is based upon a factual error in the arbitration, "the master arbitrator
must uphold the determination if it has a rational basis" (see In the Matter of
Richardson v Prudential Prop. &amp; Cas. Ins. Co., 230 Ad2d 861 [2nd Dept
1996]). Moreover, an arbitrator's award must be upheld "when the arbitrator 'offer[s]
even a barely colorable justification for the outcome reached'" (see In the Matter of Susan D.
Settenbrino. P.C. v Barroga-Hayes, 89 AD3d 1094, 1095 [2nd Dept 2011]).
Indeed, for an award to be irrational, there must be "no proof whatsoever to justify the
award" (see In the Matter of
Gaymon v MTA Bus Co., 117 AD3d 735, 736 [2nd Dept 2014]; In the
Matter of Susan D. Settenbrino. P.C. v Barroga-Hayes, supra ). However, "an
arbitrator is not bound by principles of substantive law or rules of evidence, and may do
justice and apply his or her own sense of law and equity to the facts as he or she finds
them to be" (Id. at 1095).
Here, the Court determines that the Master Arbitrator found that the lower arbitrator
decided the claim based upon her review and evaluation of the record, with pertinent
case law, and further found the award below was clearly articulated and had a rational
and plausible basis in the evidence. Moreover the Master Arbitrator further found there
was no evidence presented which would establish any valid ground to set aside the award
of the lower arbitrator, and found no reason to disturb her decision, thereby affirming the
lower arbitration award in its entirety.
After due consideration, the Court agrees with the findings of the Master Arbitrator
and finds that the record demonstrates there was a rational basis for the initial arbitrator's
decision and the award was justified. In addition, the Master Arbitration Award was
supported by sufficient evidence in the record, and was not arbitrary, capricious,
irrational or incorrect as a [*2]matter of law.
The foregoing constitutes the decision and order of this Court. Submit
Judgment.
Dated: January 17, 2024J.D.C.








